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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

KEVIN B. DUFF, as Receiver for    )
CENTRAL SLEEP DIAGNOSTICS, et al. )
                                  )
           Plaintiffs,            )
                                  )                  Case No. 10-cv-6162
     v.                           )
                                  )                  Judge Rebecca R. Pallmeyer
KEN DACHMAN, et al.,              )
                                  )
           Defendants.            )

 RECEIVER’S MOTION TO DISMISS AND TO TERMINATE THE RECEIVERSHIP

       Kevin B. Duff, in his capacity as Court-appointed Receiver (“Receiver”) for and on

behalf of the assets of Central Sleep Diagnostics, LLC (“CSD”), by and through his undersigned

attorneys, hereby moves to dismiss this cause of action and to terminate this Receivership

pursuant to Rules 41 and 66 of the Federal Rules of Civil Procedure. The Receiver requests that

the Receivership be dismissed with prejudice as to all claims, causes of actions, and parties, with

each party bearing that party’s own attorney’s fees and costs. In support of this Motion, the

Receiver states as follows:

   1. On October 18, 2010, this Court reserved its right to appoint a Temporary Equity

       Receiver for CSD, its affiliates and subsidiaries. (Dkt. No. 47.)

   2. A Receivership was created by this Court on November 1, 2010, and Kevin B. Duff was

       appointed substitute Receiver on April 21, 2011. (Dkt. Nos. 51, 151.)

   3. The Court authorized the Receiver to “take such action as necessary and appropriate for

       the preservation of CSD assets, property believed to be derived from CSD assets, and to

       prevent dissipation or concealment of such assets….” (Dkt. No. 184.)




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4. The Receiver ultimately recovered a total of $403,882.68 in liquidated assets for the

   Receivership Estate.

5. On September 6, 2013, the Receiver filed his to Motion to Approve Proposed

   Distribution Plan. (Dkt. 379). The Amended Distribution Schedules filed on October 28,

   2013 reflected $363,258.99 available for distribution to eligible CSD claimants and

   professionals on a pro-rata basis. (Dkt. 393).

6. After the only objection to the Receiver’s Proposed Distribution Plan was overruled by

   this Court on October 11, 2013 (Dkt. No. 387), this Court granted Receiver’s Motion to

   Approve Proposed Distribution plan on October 31, 2013 (Dkt. 395) and approved the

   amendments to the distribution schedules on November 19, 2013 (Dkt. No. 396).

7. In accordance with the distribution schedules, the funds have since been distributed to the

   eligible claimants and professionals.

8. There are no outstanding motions or matters pending before this Court.

9. The Receiver seeks to have the Receivership terminated prior to the end of 2013.

10. There are a limited number of administrative actions needed in connection with the

   termination of the Receivership, such as placing records in off-site storage.

11. As of this filing approximately eight distribution cashier’s checks have not yet been

   either cashed by their recipients or reconciled by the Receiver’s bank. At this time, the

   Receiver anticipates resolving those issues by the end of the month. Accordingly, the

   Receiver requests that the Court allow the Receiver limited authority to take such actions

   as may be reasonably necessary to effectuate the distribution of funds as provided by the

   Court’s previous orders approving the Receiver’s distribution plan.




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   12. In addition, the Receiver requests leave of Court to file an accounting statement that

       reflects that all funds have been distributed and there remains a zero-balance in the

       Receivership Estate by December 31, 2013.

       WHEREFORE, for the foregoing reasons, the Receiver Kevin B. Duff respectfully

requests that the Court dismiss and terminate this Receivership, with prejudice and without costs,

and for such other relief as this Court deems just and proper (proposed Order attached hereto as

Exhibit A).


                                                      Respectfully submitted,

Dated: December 17, 2013                              KEVIN B. DUFF, RECEIVER


                                                      By:    /s/ John E. Murray

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